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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF CALIFORNIA

12MJ0360

UNITED STATES OF AMERICA, MAGISTRATE CASE NO.

Plaintife, COMPLAINT FOR VIOLATION OF:

Title 18 U.S.C. § 2252 (a) (2) (B) -
Distribution of Images

of Childrén En
Sexually Explie¢it § |
Conduct eee

JEFFREY MICHAEL REMILLARD,

Defendant.

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The undersigned Complainant, being duly SWOETTSEStEs+
On or about November 30, 2010, within the Southern District of
California, defendant JEFFREY MICHAFI, REMILLARD, did knowingly
distribute any visual depiction that had been mailed, shipped and
transported in interstate and foreign commerce, and which was produced
using materials which have been mailed, shipped and transported in
interstate and foreign commerce, by any means including by computer,
the production of which involved the use of a minor engaging in
sexually explicit conduct, as defined in Title 18, United States Code,
Section 2256(2), and which visual depiction was of such conduct; in
violation of Title 18, United States Code, Sectiom 2252 (a) (2) .

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And the complainant states that this complaint is based on the

attached Statement of Facts incorporated herein by reference.

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DANIEL P. EVANS
Special Agent
Federal Bureau of Investigations

Sworn to me and subscribed in my presence this 3° day of January, 2012.

HONORABLE BERNARD G. SKOMAL
UNITED STATES MAGISTRATE JUDGE

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STATEMENT OF PROBABLE CAUSE

On November 30, 2010, your affiant used publicly available peer-
to-peer file sharing software to connect to a computer bearing IP
address 174.66.142.2. The user of that computer identified himself by
the screen name “Viperl22.” Subsequent investigation revealed that IP
address 174.66.142.2 was associated with a computer owned by JEFFREY
MICHAEL REMILLARD. While connected, your affiant was able to view
files being openly shared by REMILLARD. Your affiant selected and
downloaded numerous images depicting child pornography directly from
REMILLARD’s computer. A review of the downloaded files confirmed they
contained sexually explicit images of minors, including the following:
a. "13 pos5)(1).jpg - is an image of a prepubescent boy

inserting his penis into the anus of another prepubescent

boy.
BD 1631.jpg - is an image of an adult male forcing a young
nude boy to perform oral sex on him. The males face is

blanked out and his hands are on the boys head.
Cc. 127466468534 onionib.jpg - is an image of a male, of an
unknown age, inserting his penis into the anus of a
prepubescent male who is laying nude on his back.
d. 127400272568 onionib.jpg - is an image of a nude
prepubescent male holding his legs over his head while an
unknown individual inserts a finger in his anus.
e. D&P0027.jpg - is an image of a young boy performing
oral sex on another young boy.
Based on this information a federal search warrant was executed on
January 21, 2011 at REMILLARD’s residence located at 171 East Prospect

Street, Chula Vista, California 91911.

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Pursuant to the court-authorized search warrant, a desktop
computer and other loose media were seized from a trailer located on
the property. Investigation revealed REMILLARD was living in this
trailer that was parked behind his parents house. A forensic analysis
of the seized media revealed over 30,000 images depicting minors
engaging in sexually explicit conduct and over 350 videos of minors
engaging in sexually explicit conduct.

During the execution of the search warrant, your affiant informed
REMILLARD that he was not under arrest and was free to leave the
residence. He informed your affiant that he understood this and chose
to stay and speak to me outside his residence. During the interview
that followed, REMILLARD admitted that he possessed and shared images
of children engaged in sexually explicit conduct. He further admitted
that he used the screen name “Viperl22” as well as many other screen
names to trade the illegal images.

REQUEST FOR SEALING

It is further respectfully requested that this Court issue an
Order sealing, until further order of this Court, all papers submitted
in support of this Complaint, including the probable cause statement
and arrest warrant. Sealing is necessary because premature disclosure
of the contents of this probable cause statement and related documents
may cause the defendant to flee and may cause destruction of evidence

and may have a negative impact on this continuing investigation.

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DANIEL P. EVANS

Special Agent
Federal Bureau of Investigations

